     Case 3:19-cr-00112-MCR      Document 125     Filed 06/29/20   Page 1 of 2


                                                                         Page 1 of 2


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 3:19-cr-112-MCR

EDWINA DENISE COFIELD
 a/k/a “Niecy”
_____________________________/

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts One, Two, Three, Four, Five,

Six, and Seven of the superseding indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined the guilty plea was knowing and voluntary and the offense charged is

supported by an independent basis in fact containing each of the essential elements

thereof. I therefore recommend the plea of guilty be accepted and the Defendant be

adjudicated guilty and have sentence imposed accordingly.

Dated:      June 29, 2020.


                                /s/   Hope Thai Cannon
                                HOPE THAI CANNON
                                UNITED STATES MAGISTRATE JUDGE
3:19-cr-112-MCR
      Case 3:19-cr-00112-MCR    Document 125    Filed 06/29/20   Page 2 of 2


                                                                       Page 2 of 2


                           NOTICE TO THE PARTIES


      Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's   findings    or   recommendations     contained   in    a   report    and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




319cr112 cofield RR
